
McDonald, justice.
We review DeLeon v. State, 580 So.2d 292 (Fla. 4th DCA 1991), because, in an unpublished order dated June 24, 1991, the district court granted DeLeon’s motion to certify the following question as being of great public importance:
Do Instruction 3.04(c)(2), Florida Standard Jury Instructions in Criminal Cases, and Section 777.201(2), Florida Statutes (1989), both applicable to offenses after 1987, unconstitutionally shift the burden to the defense to prove entrapment?
We recently answered this question in the negative. Herrera v. State, 594 So.2d 275, (Fla.1992). Therefore, we approve De-Leon.
It is so ordered.
SHAW, C.J., and OVERTON, GRIMES, KOGAN and HARDING, JJ., concur.
BARKETT, J., concurs in result only.
